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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


JOSEPH SCLAFANI, MICHAEL FEINSTEIN,
and BRET CAPPOLA,

                    Plaintiffs,

CAROL A. MICI, in her official capacity as
Commissioner of the Massachusetts Department     C.A. No.
of Corrections,
DOUGLAS DEMOURA, in his official capacity
as Superintendent of MCI-Cedar Junction, and
STEVE SILVA, in his official capacity as
Superintendent of MCI-Norfolk,

                   Defendants.
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                        DECLARATION OF DEBORAH CAPPOLA



Pursuant to 28 U.S.C. § 1746, I, Deborah Cappola, declare as follows:
1. I am 65 years old and live in East Wareham, Massachusetts. I am the mother of Bret

   Cappola.

2. My son Bret suffers from opioid use disorder. For almost two years, Bret has been treated

   with buprenorphine. The buprenorphine keeps Bret's opioid use disorder in remission.

3. Bret lived with me during these years of active addiction, so I saw firsthand everything he

   went through. He also lived with me when he started receiving buprenorphine, so I saw what

   a difference the medication for addiction treatment made in his life.

4. Bret was a happy kid. When he was little, we moved to a neighborhood about a mile from my

   mother's house. Bret and my mother were very close. Bret was my mother's favorite

   grandchild.

5. When Bret was about fourteen or fifteen years old, he started hanging out with older kids.

   That was his downfall. He started getting into trouble and experimenting marijuana and

   alcohol, and eventually with pills. When he could not find pills, he started using heroin. This

   led to years and years of active addiction.

6. It was horrible for me when Bret started using heroin. One time he left a needle on the coffee

   table. His little brother, who was about nine years old at the time, came in with his friends to

   play video games and saw the needle on the table. It was a nightmare.

7. When Bret was in active addiction, he stole a beautiful silver set that belonged to my mother.

   It was soon after my mother died, and her name was engraved on all the pieces. When the

   silver set went missing, I asked Bret about it and learned that he pawned it for $100. I went to




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   the pawn shop, but they wanted around $1500 for it. The only way for me to get it back was

   to press charges on Bret, but I couldn't do that. I never got my mother's silver back.

8. I tried everything I could to get Bret the help he needed. One time I even had him

   involuntarily committed for drug treatment. It didn't work because the detox did nothing to

   address the underlying problem. He kept getting into trouble. I took him to many treatment

   programs based on straight detox. Each time he would be sober for a little while, but it never

   lasted because he had not received real treatment.

9. It was a nightmare for me and our family the last time Bret was incarcerated. Bret was still in

   active addiction. He would use drugs in prison and then get beat up by the people who

   supplied the drugs. I was constantly afraid for my son's safety. Those were the worst seven

   years of all of our lives.

10. When Bret got out of prison, he was still in active addiction. He would do whatever he had to

   do to get the drugs he needed. I was so afraid that he was going to get in trouble. It' s a

   horrible fear.

11. A couple of weeks after he got home from prison, Bret went to a clinic and was prescribed

   buprenorphine for addiction treatment. The buprenorphine treatment helped. I saw Bret start

   getting on the right track with his recovery.

12. When Bret was in jail in Franklin and Hampden Counties, he got to stay on his medication. It

   was great. They didn't judge him there. It was working well for him. He was finally doing

   alright. He was calm. He talked about doing positive things and didn't have to chase drugs all

   the time.

13. I understand that the Massachusetts Department of Corrections does not provide access to

   buprenorphine treatment for more than 90 days, and that they plan to take Bret off his



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   medication in late December. This makes me so afraid. I know that if they take him off his

   treatment, he is going to slip right back into using drugs again. When his addiction takes

   over, he will do whatever it takes to get the drugs. It is going to be a nightmare. When he is

   not on the medication, he becomes a different person. His addiction takes over. He becomes

   someone I don't want to know and can't trust.

14. Bret wants to go to barber school when he gets out of prison. He wants to rebuild his life. I

   hope that the Department of Corrections provides Bret his medication so that he can stay in

   active recovery and achieve all those things.

15. Medication for addiction treatment has not only changed Bret's life, it has also changed mine

   and my husband's. We both suffered from opioid use disorder, and we have both been in

   active recovery on methadone since 1986. We both take a prescribed dose of methadone

   every morning. I know personally that these medications can give people their lives back.


I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.


Executed on December 16 2019




~ul
Deborah Cappola




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